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Case No. 24-cr-746-KMW
U.S. Department of Justice

United States Attorney
District of New Jersey

O70 Broad Street, 7 floor 973-646-2700
Newark, New Jersey 07102

JFM/PL AGR

October 1, 2024

Mary Toscano, Esq.

Greenbaum, Rowe, Smith & Davis LLP
765 Livingston Avenue

Roseland, Nd 07068

Re: Plea Agreement with Christian Rodriguez
Dear Counsel:

This letter sets forth the plea agreement between your client, Christian
Rodriguez (““RODRIGUEZ” or the “Defendant”), and the United States Attorney for
the District of New Jersey (“this Office”), This offer will expire on October 15, 2024,
if it is not accepted in writing by that date. If RODRIGUEZ does not accept this plea
agreement, his sentencing exposure could increase beyond what is discussed in this
plea agreement as a result of this Office’s investigation.

Charges

Conditioned on the understandings specified below, this Office will accept a
guilty plea from RODRIGUEZ to a two-count Information, which charges
RODRIGUEZ with: (1) firearms trafficking, in violation of 18 U.S.C, § 933(a)(1) and
(2) possession of a firearm by a convicted felon, in violation of 18 U.S.C § 922(g)(1).
In addition, RODRIGUEZ agrees to waive any and all challenges based on venue.

If RODRIGUEZ enters a guilty plea and is sentenced on these charges to at
least 36 months’ imprisonment and no more than 60 months’ imprisonment and three
years of supervised release (the “Stipulated Range”), and otherwise fully complies
with this agreement, this Office will not initiate any further criminal charges against
RODRIGUEZ for, from in or around January 2017 through in or around January
2023, unlawfully possessing, shipping, transporting, transferring, causing to be
transported, or otherwise disposing of firearms, or conspiring with others to do the
same.

However, the parties agree that this agreement does not bar the use of such
conduct as a predicate act or as the basis for a sentencing enhancement in a

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subsequent prosecution including, but not limited to, a prosecution pursuant to 18
U.S.G. §§ 1961 et seg. And, ifa guilty plea in this matter is not entered for any reason
or a guilty plea or judgment of conviction entered in accordance with this agreement
does not remain in full force and effect, this Office may reinstate any dismissed
charges and initiate any other charges against RODRIGUEZ even if the applicable
statute of limitations period for those charges expires after RODRIGUEZ signs this
agreement, and RODRIGUEZ agrees not to assert that any such charges are time-
barred.

Sentencing

The violation of 18 U.S.C. § 938(a)(1) to which RODRIGUEZ agrees to plead
guilty in Count One of the Information carries a statutory maximum prison sentence
of 15 years and a statutory maximum fine equal to the greatest of (1) $250,000, or
(2) twice the gross amount of any pecuniary gain that any persons derived from the
offense, or (3) twice the gross amount of any pecuniary loss sustained by any victims
of the offense.

The violation of 18 U.S.C. § 922(g)(1) te which RODRIGUEZ agrees to plead

guilty in Count Two of the Information carries a statutory maximum prison sentence

of 15 years and a statutory maximum fine equal to the greatest of (1) $250,000, or

} (2) twice the gross amount of any pecuniary gain that any persons derived from the

offense, or (3) twice the gross amount of any pecuniary loss sustained by any victims
of the offense.

The sentences imposed on Counts One and ‘T'wo may be imposed consecutively
to each other and to any other sentence RODRIGUEZ is serving or is ordered to serve.
Fines imposed by the sentencing judge may be subject to the payment of interest.

The sentence to be imposed upon RODRIGUEZ is within the sole discretion of
the sentencing judge, subject to the provisions of the Sentencing Reform Act, 18
U.S.C. §§ 8551-3742, and the sentencing judge’s consideration of the United States
Sentencing Guidelines. Those Guidelines are advisory, not mandatory. The
sentencing judge may impose any reasonable sentence up to and including the
statutory maximum term of imprisonment and the maximum statutory fine. This
Office cannot and does not make any representation or promise as to what Guidelines
range may be found by the sentencing judge, or as to what sentence RODRIGUEZ
ultimately will receive.

Further, in addition to imposing any other penalty on RODRIGUEZ, the
sentencing judge as part of the sentence:

(1) will order RODRIGUEZ to pay an assessment of $100 per count
pursuant to 18 U.S.C. § 3018, which assessment must be paid by the
date of sentencing;

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(2) must order forfeiture, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C.
§ 2461; and

(3) pursuant to 18 U.S.C. § 8588, may require RODRIGUEZ to serve a term
of supervised release of not more than three years on each count, which
will begin at the expiration of any term of imprisonment imposed.
Should RODRIGUEZ be placed on a term of supervised release and
subsequently violate any of the conditions of supervised release before
the expiration of its term, RODRIGUEZ may be sentenced to not more
than two years’ imprisonment on each count in addition to any prison
term previously imposed, regardless of the statutory maximum term of
imprisonment set forth above and without credit for time previously
served on post-release supervision, and may be sentenced to an
additional term of supervised release.

Forfeiture

As part of his acceptance of responsibility, RODRIGUEZ agrees to forfeit to the
United States, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461, any firearms
and ammunition involved in the commission of the offenses charged in the
Information. Such property includes, but is not limited to, pursuant to 18 U.S.C.
§ 924(d) and 28 U.S.C. § 2461: (1) a Springfield model XD 9mm semiautomatic
handgun, bearing serial number GM766177, (2) a Smith & Wesson model SD40 VE
AO caliber semiautomatic handgun, bearing serial number FDE9779, (3) a Taurus
Model 85 Ultralite .38 caliber revolver, bearing serial number KN846560, and
(4) assorted ammunition (collectively, the “Forfeitable Property”), which
RODRIGUEZ acknowledges were involved in the commission of knowing violations
of 18 U.S.C. §§ 922(¢) and 933(a)(1).

RODRIGUEZ waives the requirements of Rules 32.2 and 48(a) of the Federal
Rules of Criminal Procedure regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of the
forfeituve in the judgment. Pursuant to Rule 82.2(b)(4) of the Federal Rules of
Criminal Procedure, the defendant consents to the entry of an order of forfeiture that,
in the Office’s discretion, may be final as to the defendant prior to the defendant's
sentencing. RODRIGUEZ understands that criminal forfeiture pursuant to 18 USC,
§ 924(d)(1) and 28 U.S.C. § 2461(c} is part of the sentence that may be umposed in this
case and waives any failure by the court to advise him of this pursuant to Rule
11(b)(1)(J) of the Federal Rules of Criminal Procedure at the guilty plea proceeding.
It is further understood that any forfeiture of RODRIGUEZ’s assets shall not be
treated as satisfaction of any fine, restitution, cost of imprisonment, or any other
penalty the Court may impose upon him in addition to forfeiture. RODRIGUEZ
waives any and all constitutional, statutory, and other challenges to the forfeiture on
any and all grounds, including that the forfeiture constitutes an excessive fine or
punishment under the Highth Amendment. 2

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RODRIGUEZ also consents to the administrative and/or civil judicial forfeiture
of the Forfeitable Property pursuant to 18 U.S.C. § 984. RODRIGUEZ agrees that he
will not file a claim or a petition for remission or mitigation in any forfeiture
proceeding involving the Forfeitable Property and will not cause or assist anyone else
in doing so. To the extent RODRIGUEZ has filed a claim or petition in any
administrative or civil judicial forfeiture proceeding involving the Forfeitable
Property, such claims or petitions are hereby deemed withdrawn. RODRIGUEZ
further agrees to take all necessary steps to pass clear title to the Forfeitable Property
to the United States, including, but not limited to, the surrender of such property to
the United States, its agent, or designee, and the execution of all necessary
documentation.

RODRIGUEZ further consents and agrees to forfeit and abandon to federal,
state, and/or local law enforcement all of his right, title, and interest in the Forfeitable
Property; waives all challenges of any kind to the forfeiture and abandonment of this
property by federal, state, and/or local law enforcement; waives any additional notice
requirement in connection with the forfeiture and/or abandonment of this property;
and consents to the destruction of the forfeited and/or abandoned property at the
discretion of federal, state, and/or local law enforcement.

Rights of This Office Regarding Sentencing

Except as otherwise provided in this agreement, this Office may take any
position with respect to the appropriate sentence to be imposed on RODRIGUEZ by
the sentencing judge. This Office may also correct any misstatements relating to the
sentencing proceedings and provide the sentencing judge and the United States
Probation Office all law and information relevant to sentencing, favorable or
otherwise. And this Office may inform the sentencing judge and the United States
Probation Office of (1) this agreement; and (2) the full nature and extent of
RODRIGUE?’s activities and relevant conduct with respect to this case.

Stipulations

This Office and RODRIGUEZ agree to stipulate at sentencing to the
statements set forth in the attached Schedule A, which hereby is made a part of this
plea agreement. This agreement to stipulate, however, cannot and does not bind the
sentencing judge, who may make independent factual findings and may reject any or
all of the stipulations entered into by the parties. To the extent that the parties do
not stipulate to a particular fact or legal conclusion, each reserves the right to argue
the existence of and the effect of any such fact or conclusion upon the sentence.
Moreover, this agreement to stipulate on the part of this Office is based on the
information and evidence that this Office possesses as of the date of this agreement.
Thus, if this Office obtains or receives additional evidence or information prior to
sentencing that it determines to be credible and to be materially in conflict with any
stipulation in the attached Schedule A, this Office shall not be bound by any such

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stipulation. A determination that any stipulation is not binding shall not release
either this Office or RODRIGUEZ from any other portion of this agreement, including
any other stipulation. If the sentencing court rejects a stipulation, both parties
reserve the right to argue on appeal or at post-sentencing proceedings that the
sentencing court was within its discretion and authority to do so. These stipulations
do not restrict this Office’s right to respond to questions from the Court and to correct
misinformation that has been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A, this Office and RODRIGUEZ waive certain rights
to file an appeal, collateral attack, writ, or motion after sentencing, including but not
limited to an appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C, § 2255.

Immigration Consequences

RODRIGUEZ understands that, if he is not a citizen of the United States, his
guilty plea to the charged offenses will likely result in RODRIGUEZ being subject to
immigration proceedings and removed from the United States by making
RODRIGUEZ deportable, excludable, or inadmissible, or ending RODRIGUE’s
naturalization. RODRIGUEZ understands that the immigration consequences of this
plea will be imposed in a separate proceeding before the immigration authorities.
RODRIGUEZ wants and agrees to plead guilty to the charged offenses regardless of
any immigration consequences of this plea, even if this plea will cause RODRIGUEZ’s
removal from the United States. RODRIGUEZ understands that RODRIGUEZ is
bound by this guilty plea regardless of any immigration consequences. Accordingly,
RODRIGUEZ waives any right to challenge the guilty plea, sentence, or both based
on any immigration consequences. RODRIGUEZ also agrees not to seek to withdraw
this guilty plea, or to file a direct appeal, or any kind of collateral attack challenging
the guilty plea, conviction, or sentence, based on any immigration consequences of
the guilty plea or sentence.

Other Provisions

This agreement is limited to the United States Attorney's Office for the District
of New Jersey and cannot bind other federal, state, or local authorities. If requested
to do so, however, this Office will bring this agreement to the attention of other
prosecuting offices.

This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against RODRIGUEZ. So
this agreement does not prohibit the United States, any agency thereof Gneluding the
Internal Revenue Service and Immigration and Customs Enforcement) or any third
party from initiating or prosecuting any civil or administrative proceeding against
him.
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No provision of this agreement shall preclude RODRIGUEZ from pursuing in
an appropriate foram, when permitted by law, a claim that he received
constitutionally ineffective assistance of counsel.

No Other Promises

This agreement constitutes the entire plea agreement between RODRIGUEZ
and this Office and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made

unless set forth in writing and signed by the parties.

Very truly yours,

PHILIP R. SELLINGER
United States Attorney

/s/ Robert Frazer
By: Robert Frazer
Assistant U.S. Attorney

APPROVED:

ee

DESIREE L. GRACE
Chief, Criminal Division

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I have received this letter from my attorney, Mary Toscano, Hisq. I have read
it. My attorney and I have reviewed and discussed it and all of its provisions,
including those addressing the charges, sentencing, stipulations (including the
attached Schedule A), waiver, forfeiture, and immigration consequences. I
understand this letter fully and am satisfied with my counsel’s explanations. I accept
its terms and conditions and acknowledge that it constitutes the plea agreement
between the parties. I understand that no additional promises, agreements, or
conditions have been made or will be made unless set forth in writing and signed by
the parties, I want to plead guilty pursuant to this plea agreement,

AGREED AND ACCEPTED:

Date:

Christian Rodriguez

I have reviewed and discussed with my client this plea agreement and all of its
provisions, including those addressing the charges, sentencing, stipulations
Gncluding the attached Schedule A), waiver, forfeiture, and immigration
consequences, My client understands this plea agreement fully and wants to plead
guilty pursuant to it.

Date: 10:}}.2 Y

Mary ‘Toscano, Esq.
Counsel for Defendant
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Plea Agreement with Christian Rodriguez
Schedule A

. This Office and RODRIGUEZ agree to stipulate to the following facts:

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a. On or about December 22, 2022, RODRIGUEZ knowingly and willfully
transported from Virginia into New Jersey three firearms (the
“Firearms”).

b. On or about December 22, 2022, RODRIGUEZ sold the Firearms to
another person in ov otherwise affecting interstate and foreign
commerce.

c. At the time that RODRIGUEZ transferred the Firearms on or about
December 22, 2022, he knew or had reason to know that the use,
carrying, or possession of the Firearms by the recipient would constitute
a felony.

d, One of the Firearms that RODRIGUEZ sold in New Jersey on or about
December 22, 2022, was capable of accepting, and did in fact have
attached thereto, a magazine or similar device that could accept more
than 15 rounds of ammunition.

e. On or about January 4, 2028, in the Eastern District of Virginia,
RODRIGUEZ possessed a firearm, specifically, a Taurus Model 85
Ultralite .88 caliber revolver, bearing serial number KN84650 (the
“Taurus Firearm”).

f. The Taurus Firearm was manufactured outside of Virginia and
therefore traveled in interstate commerce prior to RODRIGUEZ’s
possession thereof in Virginia on or about January 4, 2023.

g. Prior to January 4, 2028, RODRIGUEZ had been convicted of a felony
offense. For example, on or about September 7, 2017, RODRIGUEZ pled
guilty in the Circuit Court of the County of Chesterfield, in the
Commonwealth of Virginia, to (1) Possession of a Schedule I/II
Controlled Substance, in violation of Va. Code § 18.2-250, and (2) Felony
Failure to Appear, in violation of Va. Code § 19.2-128, for which
RODRIGUEZ was sentenced to ten years’ imprisonment, suspended,
and three months imprisonment, respectively.

h. At the time of his guilty plea on or about September 7, 2017, |
RODRIGUEZ knew that the charges to which he was pleading were |
felony offenses, meaning that they were punishable by a term of |
imprisonment exceeding one year.
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i, At the time that RODRIGUEZ possessed the Taurus Firearm on or
about January 4, 2023, RODRIGUEZ knew that he had previously been
convicted of at least one crime punishable by imprisonment for a term
exceeding one year such that he knew his possession of the Taurus
Firearm was unlawful.

2. The parties agree that a term of imprisonment within the range of 36 to 60
months (the “Stipulated Range”) is reasonable taking into account all of the factors
under 18 U.S.C. § 8553(a). Neither party will argue for a term of imprisonment below
36 months or above 60 months. The parties recognize, however, that the Stipulated
Range will not bind the District Court. The parties agree not to seek or argue for any
upward or downward departure, adjustment, or variance not set forth herein.

3. If the District Court imposes a term of imprisonment within the Stipulated
Range:

a. This Office will not appeal any component of that sentence. The term
“any component of that sentence” means the term of imprisonment, the
term (and conditions) of supervised release, any fine, any restitution,
any forfeiture, and the special assessment.

b. RODRIGUEZ will not challenge his conviction for any reason by any
means, other than ineffective assistance of counsel, and he will not
challenge or seek to modify any component of his sentence for any reason
by any means, other than ineffective assistance of counsel. The term
“any means” includes, but is not limited to, a direct appeal under 18
U.S.C. § 3742 or 28 U.S.C, § 1291, a motion to vacate the sentence under
28 U.S.C. § 2255, a motion for early termination of supervised release
under 18 U.S.C. § 8583(e)(1), or any other motion, however captioned,
that seeks to attack or modify the judgment of conviction or any
component of the sentence.

c, These waiver provisions, however, do not apply to:
i. Any proceeding to revoke the term of supervised release.

ii. A motion for a reduction of the term of imprisonment under 18 U.S.C.
§ 8582(c)C1)(A).

iit. An appeal from the denial of a motion for a reduction of the term of
imprisonment under 18 U.S.C. § 3582(c)(1)(A) on the grounds that
the court erred in finding that there were no extraordinary and
compelling circumstances warranting a reduced term of
imprisonment or that the court failed to consider those
circumstances in denying the motion as a discretionary matter under
the applicable factors of 18 U.S.C. § 3553(a).

9.
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4. Lastly, the parties have stipulated to certain facts above. The parties
recognize that none of those stipulations bind the District Court. Furthermore,
neither party will challenge at any time, using any means, the District Court’s
acceptance of a stipulated fact.

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